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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )
                                               )                   8:05CR212
       vs.                                     )
                                               )                     ORDER
ALICE BUCKLER,                                 )
                                               )
                       Defendant.              )


        This matter is before the court on defendant’s motion for an extension of time to file
pretrial motions [17]. Defendant has filed a waiver of speedy trial in compliance with
NECrimR 12.1 or 12.3(a). For good cause shown, the motion will be granted.

       IT IS ORDERED that defendant’s Motion [17] is granted, as follows:

       1. Defendant’s deadline for filing pretrial motions is extended from June 22, 2005
to July 11, 2005.

        2. The ends of justice will be served by granting defendant's motion and outweigh
the interests of the public and the defendant in a speedy trial. Any additional time arising as
a result of the granting of this motion, that is, the time between June 22, 2005 and July 11,
2005, shall be deemed excludable time in any computation of time under the requirement of
the Speedy Trial Act, because counsel requires additional time to adequately prepare the case,
taking into consideration due diligence of counsel and the novelty and complexity of this
case, and the failure to grant additional time might result in a miscarriage of justice. 18
U.S.C. § 3161(h)(8)(A) & (B)(iv).

       July 1, 2005.


                                           BY THE COURT:


                                           s/ F.A. Gossett
                                           United States Magistrate Judge
